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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION




TRACY ANTHONY MILLER,

     Petitioner-Appellant,

V.                                     Case No.     CV 196-195


JOHNNY SIKES, Warden,                  Appeal No. 18-13368-E

     Respondent-Appellee




                               ORDER




     The appeal in the above-styled action having been dismissed by

the United States Court of Appeals for the Eleventh Circuit for lack

of jurisdiction,

     IT IS HEREBY ORDERED that the mandate order of the United States


Court of Appeals for the Eleventh Circuit is made the order of this

Court.


     SO ORDERED, this                day of January 2019.




                                 HONORABLE RANDAL J. HALL, CHIEF JUDGE
                                 UNITED STATES DISTRICT COURT
                                            DISTRICT OF GEORGIA
